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 Subject: The Bluest Eye board decision
 Date: January 24, 2022 at 11:55:41 AM CST

 I wanted to add one more thing to this email. Teaching and Learning wanted to make sure that
 everyone knows we do have a process in place for a family member to request library or book
 restrictions on any work. One of the foundations of our ELA Department is student choice,
 sometimes that choice can be a student or family choice. At any point a parent/guardian can
 contact the child's teacher or librarian to request a restriction on a work they deem inappropriate
 for their student and we as educators will offer an alternate text for the students to utilize.

 Again if you need any assistance navigating this, please let me know.
 Priscilla

 On Mon, Jan 24, 2022 at 6:31 AM KERI SKEETERS <keriskeeters@wsdr4.org> wrote:
   Good morning,

   I hope you all enjoyed a wonderful weekend!

   ELA department chairs, please forward this email to your department.

   As you may have seen or read, the WSD board of education voted to remove The Bluest Eye
   from our schools at the board meeting on Thursday night. For more information, please
   check out the WSD Board Meeting Report.

   While the original challenge had to do with library books, this decision also applies to books
   in classroom libraries or in the buildings for classroom use.

   The decision is effective immediately. Please ensure that copies of this book are removed
   immediately from circulation, from classroom libraries, from class syllabi, and from student
   access. If you need any assistance with this, please reach out to Kelly Manning, Priscilla
   Frost, or myself and we'll be happy to assist you.

   I understand that there are likely many questions and emotions that you have at this time.
   Please do not hesitate to reach out if you would like to discuss this; my office and cell
   numbers are listed below.

   Please know that we fully support our libraries and teachers and the decisions you make for
   students every single day. Thank you so much for all that you continue to do to ensure that
   students are engaged in the very best possible learning experiences.

   Wishing you a wonderful week!




                                                                                   Exhibit 25
